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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
DIQUAN BOOKER,                                                 :
                                                               :   Case No. 22-CV-02355 (165)
                                        Plaintiff,             :
                                                               :   ORDER AUTHORIZING THE
                       - against -
                                                               :   DEPOSITION OF
SGT. SEFMAN,                                                   :   INCARCERATED PLAINTIFF
                                                               :
                                        Defendants.            :
-------------------------------------------------------------- X

        IT IS HEREBY ORDERED, pursuant to Federal Rule of Civil Procedure 30(a)(2)(B), that

an Assistant Attorney General, as well as counsel for all other defendants, may take the deposition of

inmate Plaintiff DIQUAN BOOKER, DIN # 16A1691, before a notary public or some other officer

authorized to administer oaths by the laws of the United States or of the State of New York, at a

Correctional Facility maintained by the New York State Department of Corrections and Community

Supervision, or virtually via a remote deposition at the same, upon notice to Plaintiff and the

Superintendent of the Correctional Facility.

Dated: White Plains, New York
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                                                    JUDITH C. MFCARTHY, U.S.M.J
